199 F.3d 1365 (D.C. Cir. 2000)
    Amy Gleklen, Appellantv.Democratic Congressional Campaign Committee, Inc., et al.,Appellees
    No. 99-7041
    United States Court of AppealsFOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued November 22, 1999Decided January 11, 2000
    
      Appeal from the United States District Court for the District of Columbia(98cv00072)
      Roy W. Krieger argued the cause and filed the briefs for  appellant.
      Barry J. Reingold argued the cause for appellees. With  him on the brief was Kara M. Sacilotto.
      Before:  Williams, Sentelle, and Randolph, Circuit  Judges.
      Opinion for the Court filed by Circuit Judge Randolph.
      Randolph, Circuit Judge:
    
    
      1
      This is an appeal from an order  of the district court, Robertson, J., granting summary judgment for the Democratic Congressional Campaign Committee  on three counts of unlawful discrimination alleged by Amy  Gleklen, a former employee. We affirm because Gleklen did  not rebut the Committee's reasonable, nondiscriminatory explanation for its employment decision.
    
    
      2
      * Gleklen worked as the Deputy Director of the Harriman  Communications Center, an arm of the Democratic Congressional Campaign Committee, shifting between full-time and  part-time status as the needs of the Democratic Committee  changed between campaign seasons.  In February 1997,  shortly after Gleklen informed the Committee that she was  pregnant with her third child, the Committee decided to  embark on a more vigorous off-cycle member services program which required it to hire additional staff and increase  the work hours of the existing staff.  In early March 1997,  the Democratic Committee requested Gleklen to resume full time employment in April.  Gleklen refused.  She preferred  to continue working three days a week and wanted the  Committee to reinstitute the job-sharing arrangement it had  allowed the previous year in the event that more work was  needed.  When Gleklen failed to report for work on April 1,  she was fired and immediately replaced by a woman who was  not pregnant.  In June 1997, Gleklen timely filed a complaint  with the EEOC alleging that the Committee had violated the  Pregnancy Discrimination Act, the D.C. Human Rights Act,  and the Family and Medical Leave Act.  The EEOC responded with a "no reason to believe" letter on October 14, 1997,  and Gleklen brought suit in federal district court.
    
    
      3
      Applying the burden-shifting analysis for discrimination  claims set forth in Aka v. Washington Hospital Center, 156  F.3d 1284 (D.C. Cir. 1998) (en banc), the district court  granted the Democratic Committee's motion for summary  judgment because there was "no evidence from which a jury  could reasonably find a causal link between defendants' April 1997 request that plaintiff resume a full-time schedule and  the impending birth of her child in August 1997."  Gleklen v.  Democratic Congressional Campaign Comm., 38 F. Supp. 2d  18, 21 (D.D.C. 1999).
    
    II
    
      4
      Title VII makes it "an unlawful employment practice for an  employer to fail or refuse to hire or to discharge any individual, or otherwise to discriminate against any individual with  respect to his compensation, terms, conditions, or privileges  of employment, because of such individual's sex...."  42  U.S.C.  2000e-2(a).  Congress passed the Pregnancy Discrimination Act as an amendment to Title VII:  "[W]omen  affected by pregnancy, childbirth or related medical conditions shall be treated the same for all employment-related  purposes ... as other persons not so affected but similar in  their ability or inability to work...."  42 U.S.C.  2000e(k).The D.C. Human Rights Act uses the same language.  See  D.C. Code Ann.  1-2505(b) (1981).  The Family and Medical  Leave Act grants eligible employees twelve weeks of leave  during any twelve-month period following the birth of a child,  and further provides:  "It shall be unlawful for any employer  to interfere with, restrain, or deny the exercise of or the  attempt to exercise, any right provided under this subchapter."  29 U.S.C.  2615(a)(1).  Gleklen claims that the Democratic Committee violated each of these provisions.
    
    
      5
      The burden-shifting analysis of McDonnell Douglas Corp.  v. Green, 411 U.S. 792 (1973), is applicable to D.C. Human  Rights Act claims.  See, e.g., Carpenter v. Federal Nat'l  Mortgage Ass'n, 165 F.3d 69, 72 (D.C. Cir. 1999).  Although  we have not considered the applicability of McDonnell Douglas to claims like Gleklen's under the Pregnancy Discrimination Act and the Leave Act, other circuits have concluded that  McDonnell Douglas provides the proper framework for analysis of such claims.  See, e.g., Graham v. State Farm Mutual  Ins. Co., 193 F.3d 1274, 1283 (11th Cir. 1999) (Leave Act);Chaffin v. John H. Carter Co., 179 F.3d 316, 319 &amp; n.10 (5th  Cir. 1999) (Leave Act);  Maldonado v. U.S. Bank, 186 F.3d 759, 763 (7th Cir. 1999) (Pregnancy Discrimination Act);Kerzer v. Kingly Mfg., 156 F.3d 396, 400-01 (2d Cir. 1998)  (Pregnancy Discrimination Act).  Given that the Pregnancy  Discrimination Act and D.C. Human Rights Act provisions in  question are identical, and in view of the general similarity of  the Leave Act, the McDonnell Douglas approach offers a  coherent method of evaluating the evidence for all three  alleged violations.  For the most part, then, Gleklen's claims  may be analyzed simultaneously.
    
    
      6
      Under McDonnell Douglas, Gleklen had to establish a  prima facie case of discrimination, at which point the Democratic Committee had to produce evidence articulating a  legitimate, nondiscriminatory reason for its actions, after  which Gleklen had to "produce substantial probative evidence  that the proffered reason was not the true reason for the  employment decision and that the real reason was [discriminatory animus]."  Chaffin, 179 F.3d at 320;  see also Abraham v. Graphic Arts Int'l Union, 660 F.2d 811, 815 (D.C. Cir.  1981).
    
    
      7
      * On her Pregnancy Discrimination Act and D.C. Human  Rights Act claims, Gleklen made out the requisite prima facie  case:  she was pregnant, she was qualified, she was fired, she  was replaced by a woman who was not pregnant, and her  replacement performed Gleklen's former job while devoting  at least some of her time to other responsibilities.1 See  Pendarvis v. Xerox Corp., 3 F. Supp. 2d 53, 57 (D.D.C. 1998).2
    
    
      8
      On her claim under the Leave Act, Gleklen had to show  that she engaged in a protected activity under this statute; that she was adversely affected by an employment decision; and that the protected activity and the adverse employment  action were causally connected.  See Chaffin, 179 F.3d at 319.As she describes her claim, it is essentially one of retaliation.3Temporal proximity is often found sufficient to establish the  requisite causal connection for such claims.  See, e.g., King v.  Preferred Technical Group, 166 F.3d 887, 893 (7th Cir. 1999).In this case, Gleklen's supervisor requested that she return to  work full time only a few weeks after she disclosed her  pregnancy.  These two events were sufficiently close in time  to infer a causal nexus on the facts of this case.  Compare  Kachmar v. Sungard Data Sys., Inc., 109 F.3d 173, 177-78  (3d Cir. 1997);  Shirley v. Chrysler First, Inc., 970 F.2d 39,  42-43 (5th Cir. 1992).  Accordingly, Gleklen appears to have  met her burden of alleging facts from which a reasonable jury  might infer a causal connection.
    
    B
    
      9
      Although Gleklen made out a prima facie case on each of  her claims, she cannot prevail on any of them.  The Democratic Committee put forward reasonable and nondiscriminatory reasons for requiring Gleklen to work full time  if she wanted to keep her job:  they were planning to launch a major new off-cycle initiative which required the full-time  efforts of existing employees as well as the hiring of new  ones.  Gleklen believes this was an elaborate pretext designed to force her resignation, but she fell far short of  rebutting the Committee's more plausible explanation for its  actions.  See Aka, 156 F.3d at 1289.  She relies on four items  of "evidence," all of which lack substance or otherwise fail to  establish a "genuine issue as to any material fact."  Fed. R.  Civ. P. 56(c).
    
    
      10
      First, in her deposition, Gleklen testified that someone had  informed her of a conversation in which Congressman Frost  said to former Congresswoman Margolies-Mezvinsky that  Gleklen was terminated because Gleklen, before her last  pregnancy, had told the Democratic Committee that she was  not going to have any more children. Gleklen's deposition is  the only evidence of this conversation in the record, and it is  not enough.
    
    
      11
      The rather awkward language of Rule 56(e) of the Federal  Rules of Civil Procedure provides that "an adverse party may  not rest on mere allegations or denials of the adverse party's  pleading, but the adverse party's response, by affidavits or as  otherwise provided in this rule, must set forth specific facts  showing that there is a genuine issue for trial." While a  nonmovant is not required to produce evidence in a form that  would be admissible at trial, the evidence still must be  capable of being converted into admissible evidence.  The  opening lines of the rule suggest as much:  "Supporting and  opposing affidavits shall be made on personal knowledge,  shall set forth such facts as would be admissible in evidence,  and shall show affirmatively that the affiant is competent to  testify to the matters stated therein."  See also Celotex Corp.  v. Catrett, 477 U.S. 317, 324 (1986).  Otherwise, the objective  of summary judgment--to prevent unnecessary trials--would  be undermined.  See id. at 323-24 &amp; n.5.  Verdicts cannot  rest on inadmissible evidence.  Gleklen's evidence about the  conversation is sheer hearsay;  she would not be permitted to  testify about the conversation at trial.  See Fed. R. Evid. 801807.  It therefore counts for nothing.  See 10A Charles Alan Wright et al., Federal Practice and Procedure  2722, at  371-72 &amp; n.11 (1998) (citing cases).
    
    
      12
      Second, in her affidavit opposing summary judgment and in  her deposition, Gleklen recounted a conversation in which  Greg Speed--who was hired full time along with Todd Glass  in March 1997 to handle the increased workload of the  Democratic Committee's new initiative--said that he did not  expect a significant increase in the Harriman Communications Center's workload until August 1997.  Even if true,  Gleklen never suggested that Speed was in any manner  involved in the decision to terminate her;  nor did she offer  any evidence that Speed shared his views with the supervisors who made that decision.  Moreover, the record contains  several documents detailing the Democratic Committee's new  initiative.  (The documents are under seal.)  Even if use of  the Harriman Center's facilities did not rise appreciably  before August 1997, clearly the efforts to generate increased  work began well before Gleklen was terminated, directly  supporting the Democratic Committee's contention that it  anticipated an increased workload for the Harriman Center's  staff.
    
    
      13
      Third, Gleklen's affidavit purports to refute the Democratic  Committee's statistics demonstrating increased activity at the  Harriman Center between April and August 1997.  Whether  the activity level actually increased is not the critical question.  Gleklen needed to--but did not--refute the Democratic  Committee's evidence showing that those in charge of the  Harriman Center reasonably believed that its activity would  increase when they asked Gleklen to resume a full-time  schedule and later terminated her for rejecting that request.
    
    
      14
      Fourth, Gleklen is mistaken in asserting that Susan Maiers,  the woman who replaced her, only worked part time to fill the  Deputy Director's duties.  The evidence shows that Maiers  was working full time for the Democratic Committee Finance  Office one month before Gleklen's termination and that Maiers was performing the duties of the Harriman Center's  business manager on a part-time basis until a replacement  could be found. When Gleklen was terminated, Maiers left the Democratic Committee Finance Office and took over Gleklen's post as Deputy Director full time, working nine-to-five,  five days a week.  Maiers testified that she acted as the  Deputy Director on a full-time basis, and performed the  business manager functions part time--the opposite of Gleklen's assertion.  This testimony further supports the Democratic Committee's contention that the Deputy Director's  position required a full-time employee.  In any event, Gleklen  did not rebut the Committee's evidence that it was making a  good faith attempt at filling the business manager position  while Maiers did double duty.
    
    
      15
      The district court's summary judgment in favor of the  Democratic Congressional Campaign Committee is therefore  affirmed.
    
    
      
        Notes:
      
      
        1
         Gleklen set forth additional allegations, unnecessary to mention.
      
      
        2
         The Democratic Committee also argued that the Pregnancy  Discrimination Act does not require employers to grant maternity  leave;  that maternity leave must be given only if the employer  overlooks comparable absences of non-pregnant employees;  that  the Committee did not offer eight weeks of leave on either a paid or  unpaid basis to employees who were not pregnant;  and that Gleklen  therefore would not have a claim under the Act even if the  Committee terminated her precisely to avoid providing her maternity leave.  See Brief for Appellees at 26-30 (citing 29 C.F.R.   1604.10(b);  Marshall v. American Hosp. Ass'n, 157 F.3d 520, 527  (7th Cir. 1998);  Rhett v. Carnegie Ctr. Assocs., 129 F.3d 290, 296  (3d Cir. 1997);  Troupe v. May Dep't Stores, 20 F.3d 734, 738 (7th  Cir. 1994);  Pendarvis, 3 F. Supp. 2d at 57 n.3).  The Committee  also argued that Abraham v. Graphic Arts Int'l Union, 660 F.2d at  817, cited by Gleklen, does not support her position that the  Pregnancy Discrimination Act gives her rights superior to those  enjoyed by non-pregnant employees because Abraham employed  "disparate impact" analysis, whereas Gleklen claims disparate treatment.  Given our disposition of the case, it is not necessary for us to  consider the questions these arguments pose.
      
      
        3
         "She planned to engage in statutorily protected activity (i.e.  maternity leave);  her employer took adverse action (she was fired);and there is evidence of a causal connection between these two  events."  Brief for Plaintiff-Appellant at 24.
      
    
    